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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION



 UNITED STATES OF AMERICA,

       Plaintiff,                                            Hon. Janet T. Neff

 v.                                                          Case No. 1:17-cr-00087

 NATHAN ERIC OSBORNE,

      Defendant.
 _________________________________/


                                               ORDER


       Defendant appeared before me on April 18, 2017, with appointed counsel for a detention

hearing under the Bail Reform Act of 1984, 18 U.S.C. § 3142(f). After being advised of his rights,

including those attendant to a detention hearing, defendant waived his right to the hearing. I find that

his waiver was knowingly and voluntarily entered.

       Accordingly, IT IS ORDERED that defendant is committed to the custody of the Attorney

General pending trial.

       DONE AND ORDERED this 18th day of April, 2017.




                                                       /s/ Phillip J. Green
                                                      PHILLIP J. GREEN
                                                      United States Magistrate Judge
